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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

     GENERAL ACCESS SOLUTIONS, LTD.,

                   Plaintiff,
                                                              Case No. 2:22-cv-00394 JRG
     v.
                                                              JURY TRIAL DEMANDED
     CELLCO PARTNERSHIP D/B/A VERIZON
     WIRELESS, VERIZON SERVICES CORP.,
     VERIZON BUSINESS GLOBAL LLC,
     VERIZON BUSINESS NETWORK SERVICES
     LLC, VERIZON CORPORATE SERVICES
     GROUP INC., VERIZON DATA SERVICES
     LLC, and VERIZON ONLINE LLC,

                   Defendants,

     ERICSSON, INC.,

                   Intervenor-Defendant.



           JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

          Pursuant to the Court’s First Amended Docket Control Order entered May 25, 2023 (Dkt. 55)

and the Patent Local Rules for the Eastern District of Texas (“Patent Rules” or “P.R.”), Plaintiff

General Access Solutions, Ltd. (“General Access”) and Defendants Cellco Partnership d/b/a Verizon

Wireless, Verizon Services Corp., Verizon Business Global LLC, Verizon Business Network Services

LLC, Verizon Corporate Services Group Inc., Verizon Data Services LLC, and Verizon Online LLC

(collectively, “Verizon”) and Intervenor-Defendant Ericsson, Inc. (collectively, “Defendants”) hereby

submit their Joint Claim Construction and Prehearing Statement.

I.        Construction of Claim Terms on Which the Parties Agree
          The parties have agreed to withdraw multiple terms, but have not reached agreement on any

terms for construction.
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II.    Disputed Claim Terms/Phrases
       See Exhibit A for a chart showing the parties’ proposed constructions with intrinsic and

extrinsic evidence supporting such constructions.1 All parties reserve the right to rely upon any

intrinsic or extrinsic evidence identified by any other party, and any evidence obtained through claim

construction discovery. In addition, each party reserves the right to amend, correct, or supplement

its claim construction positions and supporting evidence in response to any change of position by any

other party, or for other good cause.

III.   Anticipated Length of Time for Claim Construction Hearing
       The Claim Construction Hearing is set to begin at 9:00 a.m. in Marshall, Texas before Judge

Rodney Gilstrap on December 12, 2023. The parties believe that no more than three (3) hours should

be necessary for a claim construction hearing.

IV.    Anticipated Witnesses at the Claim Construction Hearing
       No party will call any live witnesses at the claim construction hearing.

V.     Other Issues to be Addressed at a Prehearing Conference Prior to the Claim
       Construction Hearing
       At this time, the parties are not aware of any other issues that might be appropriately addressed

at a prehearing conference prior to the Claim Construction Hearing.



Dated: September 19, 2023                        Respectfully submitted,

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1
 Because GAS has not accused any Ericsson product or service of infringing the ’794 Patent,
Ericsson provides this disclosure only with respect to the ’931 Patent.
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                                CERTIFICATE OF SERVICE

       Pursuant to Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify that a copy

of the foregoing document was served via ECF to all counsel of record.




                                                     /s/Andrea Fair
                                                     Andrea Fair




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